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 7
 8                                  UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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12   MICHAEL ORLITZKY, an individual,                  Case No. _______________
13                                                     COMPLAINT FOR VIOLATION OF THE
                             Plaintiff,                SECURITIES EXCHANGE ACT OF 1934
14
            vs.
15                                                     JURY TRIAL DEMANDED
     SUNWORKS INC., CHARLES F. CARGILE,
16   DANIEL GROSS, JUDITH HALL, RHONE
     RESCH, and STANLEY SPEER,
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18                           Defendants.

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31         COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934
 1          Plaintiff, Michael Orlitzky (“Plaintiff”), by his undersigned attorneys, alleges upon
 2   information and belief, except for his own acts, which are alleged on knowledge, as follows:
 3                                       NATURE OF THE ACTION
 4          1.       Plaintiff brings this action against Sunworks, Inc. (“Sunworks” or the “Company”)
 5   and the members of Sunworks’ board of directors (collectively, the “Board” or the “Individual
 6   Defendants,” as further defined below) for violations of Sections 14(a) and 20(a) of the Securities
 7   Exchange Act of 1934 (the “Exchange Act”) arising out of a materially incomplete and misleading
 8   Registration Statement filed on Schedule S-4 (the “Registration Statement”) with the U.S. Securities
 9   and Exchange Commission (the “SEC”) on October 1, 2020.
10          2.       On August 10, 2020, Sunworks announced that it had entered into a definitive
11   agreement (the “Merger Agreement”) with Peck Co. Holdings, Inc. (“Peck”) pursuant to which each
12   share of Sunworks common stock will be converted into the right to receive 0.185171 (the “Exchange
13   Ratio”) fully paid and nonassessable shares of Peck common stock (the “Proposed Transaction”).
14          3.       In connection with the Proposed Transaction, on October 1, 2020, the Company filed
15   a Registration Statement with the SEC. The Registration Statement is materially deficient and
16   misleading because, inter alia, it omits material information concerning the background of the
17   transaction, the company’s financial projections, and the analyses performed by the Company’s
18   financial advisor in connection with the Proposed Transaction, Holthouse Carlin & Van Trigt LLP
19   (“HCVT”). The omission of such material information constitutes a violation of Sections 14(a) and
20   20(a) of the Exchange Act, as stockholders need such information in order to cast a properly informed
21   vote on the Proposed Transaction.
22          4.       For these reasons and as set forth in detail herein, Defendants have violated
23   Sections 14(a) and 20(a) of the Exchange Act. Judicial intervention is warranted here to prevent
24   irreparable harm to the Company’s stockholders. The stockholder vote on the proposed transaction
25   (the “Stockholder Vote”) is forthcoming. Therefore, it is imperative that the material information
26   omitted from the Registration Statement be disclosed to the Company’s stockholders prior to
27   Stockholder Vote so that they can properly determine how to vote.
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 1                                      JURISDICTION AND VENUE
 2           5.        The claims asserted herein arise under §§ 14(a) and 20(a) of the Exchange Act, 15
 3   U.S.C. § 78aa. The Court has subject matter jurisdiction pursuant to § 27 of the Exchange Act, 15
 4   U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question jurisdiction).
 5           6.        The Court has personal jurisdiction over all of the defendants because each is either
 6   a corporation that is headquartered in this district, or is an individual who is either present in this
 7   District for jurisdictional purposes or has sufficient minimum contacts with this District so as to render
 8   the exercise of jurisdiction by this Court permissible under traditional notions of fair play and
 9   substantial justice.
10           7.        Venue is proper in this District under § 27 of the Exchange Act, 15 U.S.C. § 78aa, as
11   well as pursuant to 28 U.S.C. § 1391, because a substantial portion of the transactions and wrongs
12   complained of herein, occurred in this District, and Sunworks is headquartered in this District.
13                                                  PARTIES
14           8.        Plaintiff is, at all relevant times, the owner of shares of Sunworks common stock.
15           9.        Defendant Sunworks is incorporated in Delaware and is a premier provider of high-
16   performance solar power systems. Sunworks’ principal executive offices are located at 1030 Winding
17   Creek Road, Suite 100, Roseville CA 95678. Sunworks’ common stock is publicly traded on Nasdaq
18   under the ticker symbol “SUNW”.
19           10.       Individual Defendant Charles Cargile (“Cargile”) has served as the Company’s Chief
20   Executive Officer and Chairman of the Board since March 2017.
21           11.       Individual Defendant Daniel Gross (“Gross”) was appointed to serve as a director of
22   the Company in April 2018.
23           12.       Individual Defendant Judith Hall (“Hall”) has served as a member of the board since
24   October 2019.
25           13.       Individual Defendant Rhone Resch (“Resch”) has served as a director of the
26   Company since November 2016.
27           14.       Individual Defendant Stanley Speer (“Speer”) was appointed to serve as a director of
28   the Company and Chairman of the Audit Commit in May 2018.
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 1          15.       Defendants Speer, Resch, Hall, Gross, and Cargile are collectively referred to herein
 2   as the “Board” or the “Individual Defendants.”
 3          16.       The Individual Defendants and Sunworks are referred to herein as “Defendants.”
 4                                    OTHER RELEVANT ENTITIES
 5          17.       Non-party Peck is one of the largest commercial solar engineering, procurement and
 6   construction (“EPC”) companies in the country and is expanding across the Northeastern United
 7   States. Peck is a second-generation family business founded under the name Peck Electric Co. (“Peck
 8   Electric”) in 1972 as a traditional electrical contractor. Peck’s principal executive offices are located
 9   at4050 Williston Road, #511, South Burlington, Vermont 05403, and its telephone number is (802)
10   658-3378. Peck’s Common Stock is publicly traded on Nasdaq under the ticker symbol “PECK”.”.
11                             FURTHER SUBSTANTIVE ALLEGATIONS
12   The Proposed Transaction
13          18.       In September of 2017, Sunworks’ CEO was introduced to the CEO of Peck Electric
14   (the “Peck CEO) by a consultant to Peck Electric. On September 25, 2017, Sunworks’ CEO and Peck’s
15   CEO met telephonically to discuss a potential strategic transaction. An in-person meeting of the same
16   individuals occurred on October 18, 2017 in New York City and included Rob Fink of Hayden IR.
17   Sunworks management and Peck Electric Co.’s management recognized the potential strategic
18   benefits of a combination between Sunworks and Peck, including the geographic presence of Peck on
19   the East Coast and Sunworks on the West Coast, but the discussions were high-level with no specific
20   terms discussed. These initial conversations ceased as Sunworks and Peck pursued other strategic
21   opportunities.
22          19.       In 2018, these discussions restarted after Sunworks’ unrestricted cash dropped
23   significantly, and Sunworks was forced to enter into a Loan Agreement with CrowdOut Capital, LLC
24   (“CrowdOut”), under which Sunworks borrowed a total of $3,750,000 in order to provide additional
25   necessary working capital to fund operations. The loan had a maturity date of June 30, 2020.
26          20.       Following the execution of the Loan Agreement, Sunworks held discussions with a
27   private company in the solar industry (“Party A”) and Peck concerning a strategic transaction.
28          21.       On June 3, 2019, Sunworks entered into an amendment to its loan agreement with
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 1   CrowdOut to extend the maturity date of the loan from June 30, 2020, to January 31, 2021. As
 2   consideration for the extension, Sunworks was required to issue to CrowdOut 400,000 shares of its
 3   Common Stock. Sunworks considered such an extension necessary in order to provide more time to
 4   find an appropriate strategic transaction partner, to sell the business, or to refinance the debt.
 5           22.       On June 20, 2019, Peck Electric successfully merged with a Nasdaq listed special
 6   purpose acquisition company and Peck Electric became a wholly owned subsidiary of Peck which
 7   began trading on Nasdaq under the trading symbol PECK. Almost immediately thereafter, on June 27,
 8   2019, Mr. d’Amato, then Peck’s Corporate Secretary and Head of Business Development contacted
 9   the Sunworks CEO by text message and then by e-mail on June 28, 2019 to inform the Sunworks CEO
10   that Peck was now listed on Nasdaq and that it was open to strategic opportunities.
11           23.       Following further discussions between the two entities, on October 9, 2019,
12   Sunworks and Peck signed a confidentiality agreement related to discussions regarding a potential
13   business relationship. This confidentiality agreement did not restrict the parties from making
14   unsolicited proposals to enter into any other business transactions or contain any other standstill
15   restrictions. Over the next few months, members of Sunworks’ management and Peck’s management
16   engaged in preliminary discussions with respect to a potential strategic transaction between the two
17   companies.
18           24.       On December 6, 2019, the Sunworks Board held a meeting with members of
19   Sunworks’ management to discuss potential strategic opportunities and the current financial health of
20   Sunworks. During the meeting, the Sunworks Board directed Sunworks management to pursue
21   strategic alternatives including with Peck and another private company in the solar industry that had
22   approached Sunworks (“Party B”).
23           25.       On December 20, 2019, Sunworks and Party B executed a confidentiality agreement
24   related to discussions regarding a potential business relationship. This confidentiality agreement did
25   not restrict the parties from making unsolicited proposals to enter into any other business transactions
26   or contain any other standstill restrictions.
27           26.       In January 2020, a private company (“Party C”) contacted the Sunworks CEO
28   regarding a potential acquisition of the assets of Sunworks by Party C.
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 1          27.       On January 9, 2020, Party B sent Sunworks an email outlining Party B’s valuation
 2   expectation for an acquisition of Party B by Sunworks. These expectations were shared with the
 3   Sunworks Board. Party B proposed an enterprise value for Party B in the aggregate of $22.8 million.
 4          28.       Following a review of Party B’s offer, the Sunworks board rejected Party B’s offer
 5   and on January 30, 2020, Sunworks provided Party B with an updated proposed letter of intent.
 6          29.       On January 31, 2020, Party C and Sunworks executed a confidentiality agreement
 7   related to a potential strategic transaction between Party C and Sunworks. This confidentiality
 8   agreement did not restrict the parties from making unsolicited proposals to enter into any other
 9   business transactions or contain any other standstill restrictions.
10          30.       On February 13, 2020, Sunworks and Party B executed a letter of intent. The letter
11   of intent with Party B valued Party B at up to $25 million if earnouts were achieved.
12          31.       On February 13, 2020, due to issues related to the valuation of Sunworks and in
13   connection with the execution of the letter of intent with Party B, Sunworks ceased discussions with
14   Party C regarding its potential acquisition of Sunworks.
15          32.       Between February 2020 and March 2020, the Sunworks CEO met with several
16   financial advisors regarding the transaction between Sunworks and Party B. However, these
17   discussions ceased later in March after uncertainty related to COVID-19 and caused Party B and
18   Sunworks to cease discussions related to the potential transaction. As a result, the letter of intent with
19   Party B was terminated on March 24, 2020.
20          33.       On April 3, 2020, Mr. d’Amato sent an email to the Sunworks CEO discussing a new
21   idea relating to a triangular merger between Peck, Sunworks and another strategic party (“Party D”).
22          34.       In April of 2020, an investment banking team representing a private foreign company
23   (“Party E”) contacted Sunworks’ CEO regarding a potential strategic transaction. Party E’s proposal
24   involved a reverse merger with Party E becoming a wholly owned subsidiary of Sunworks and a
25   subsequent sale of Sunworks’ operating business. On April 17, 2020, Party E presented Sunworks
26   with an initial draft of a non-binding letter of intent related to the transaction between Sunworks and
27   Party E. The letter of intent proposed that Sunworks’ stockholders would retain approximately 10%
28   of the equity of the surviving public entity and would receive contingent value rights relating to the
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 1   sale of Sunworks’ business, capped at $2 million.
 2           35.       On April 29, 2020, Sunworks’ CEO emailed Mr. d’Amato to indicate that Sunworks
 3   had been approached for another transaction, but that the synergies were not as compelling as those
 4   provided by a merger between Peck and Sunworks.
 5           36.       On May 20, 2020, the Sunworks Board held a meeting with members of Sunworks’
 6   management and in attendance. At the meeting, Sunworks’ CEO updated the Sunworks Board on
 7   several potential strategic opportunities presented to the Sunworks CEO, including the transaction
 8   with Party E, the strategic transaction with Peck, and two investment bankers that expressed interest
 9   in recommending non-strategic private companies to reverse-merge into Sunworks. Following the
10   meeting, the Board authorized Sunworks’ management to continue discussions with each of the
11   various third parties discussed at the meeting.
12           37.       On May 27, 2020, Peck provided Sunworks with a proposed term sheet (the “Term
13   Sheet”) regarding a potential all stock strategic transaction between Peck and Sunworks.
14           38.       After multiple communications between Peck’s management and Sunworks’
15   management, Peck returned a revised draft of the Term Sheet to Sunworks on June 12, 2020. The
16   updated Term Sheet provided for the issuance of $8 million of Peck shares at closing, reinserted an
17   exclusivity provision on Sunworks only with a $500,000 break-up fee and provided for an issuance of
18   $1.0 million of equity to Peck management after closing.
19           39.       In June of 2020, at the direction of the Board, the Sunworks CEO met with the CEO
20   of another strategic private party (“Party F”). On June 10, 2020, Sunworks received a draft letter of
21   intent from Party F. The proposal received on June 10, 2020 valued the equity of Sunworks at
22   approximately $4.1 million and requested a 60-day exclusivity obligation.
23           40.       On June 12, 2020, Sunworks received a revised draft letter of intent from Party E.
24   Under the terms of the revised letter of intent, the stockholders of Sunworks would retain
25   approximately 10% of the equity of the surviving public entity and a third-party investor affiliated
26   with Party E would purchase all of the assets of Sunworks immediately prior to the reverse merger for
27   $7 million. Party E also demanded a 120-day exclusivity period during which Sunworks would not be
28   able to entertain other offers.
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 1          41.       On June 17, 2020, the Sunworks Board held a meeting with members of Sunworks’
 2   management attending to discuss negotiations with Party F, Party E and Peck. Following this review,
 3   the Sunworks Board authorized Sunworks’ management to continue discussion with both Party E and
 4   Peck to negotiate better terms.
 5          42.       Throughout the remaining month of June, the Sunworks Board discussed the relative
 6   merits of a proposed transaction with Peck and Party E, and determined that a transaction involving
 7   Peck provided higher long-term value for Sunworks’ stockholders over the transaction with Party E.
 8   Thereafter, the Sunworks Board unanimously authorized the Sunworks CEO to finalize and execute
 9   the Term Sheet with Peck.
10          43.       On July 20, 2020, at the direction of the Sunworks Board, Sunworks engaged HCVT
11   to conduct an analysis of the proposed exchange ratio to be fixed in the Merger Agreement and to
12   render a written opinion to the Sunworks Board as to whether the exchange ratio would be fair to the
13   stockholders of Sunworks from a financial point of view.
14          44.       Following the execution of the Term Sheet, until August 10, 2020, Sunworks and
15   Peck continued to conduct due diligence on the other party, including attending virtual presentations
16   given by management of the other company, conducting telephonic due diligence sessions, reviewing
17   documents posted to virtual data rooms maintained by each party and other customary due diligence.
18          45.       On August 8, 2020, the Sunworks Board held a meeting to review the finalized
19   merger agreement. During the meeting, representatives from HCVT, financial advisor to Sunworks,
20   reviewed their financial analysis of the proposed transaction and delivered its oral opinion,
21   subsequently confirmed in writing by delivery of a written opinion dated August 10, 2020, that the
22   exchange ratio pursuant to the proposed Merger Agreement was fair, from a financial point of view,
23   to the holders of Sunworks Common Stock. Following the discussion, the Sunworks Board
24   unanimously determined that the Merger was advisable and in the best interest of Sunworks and its
25   stockholders, approved the Merger Agreement, the other documents related thereto, and the
26   transactions contemplated thereby and resolved to recommend that Sunworks’ stockholders vote in
27   favor of the Merger.
28          46.       On August 10, 2020, Sunworks and Peck entered into the Merger Agreement and
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 1   Sunworks and Peck issued a joint press release announcing the Merger Agreement.
 2          47.      The press release states in pertinent part:
 3          SOUTH BURLINGTON, VT and ROSEVILLE, CA – Business Wire – August 10,
            2020 – The Peck Company Holdings, Inc. (NASDAQ: PECK) ( “Peck”), a leading
 4
            commercial solar engineering, procurement and construction (EPC) company and
 5          Sunworks, Inc. (NASDAQ: SUNW) (“Sunworks”), a provider of solar power solutions
            for agriculture, commercial and industrial (“ACI”), public works and residential
 6          markets, today announced that they have entered into a definitive agreement under
            which Peck will acquire Sunworks in an all-stock transaction, pursuant to which each
 7          share of Sunworks common stock will be exchanged for 0.185171 shares of Peck
 8          common stock (subject to certain adjustments). Assuming no adjustments, Sunworks’
            stockholders would receive an aggregate of approximately 3,079,207 shares of Peck
 9          common stock, representing approximately 36.54% of Peck common stock outstanding
            after the merger.
10
            Merger Rationale and Highlights
11
                    ●      Combination creates a national leader with a coast-to-coast presence
12          poised to capitalize on significant cost synergies.
13                 ●      Improves scale and strengthens national presence, with pro forma
            revenue of $88 million if the companies had been combined in 2019, and a combined
14
            backlog of $76.8 million if the companies had been combined as of June 30, 2020.
15
                    ●     Management has identified approximately $6 million in anticipated
16          annualized cost synergies, including supply chain management leverage, redundant
            public company costs and various operating expenses.
17
                    ●       The transaction is expected to be accretive to earnings and free cash
18          flow after integration synergies have been implemented.
19                 ●       Combined company will have significantly expanded addressable
            market to leverage Sunworks’ core capabilities in agriculture and public works.
20
                   ●       Combination leverages Peck’s strategic partnership with GreenBond
21          Advisors to provide project development and financing to fuel growth and solar project
22          ownership improving the conversion of Sunworks’ pipeline and expanding its
            addressable market.
23
                    ●     Peck and Sunworks installed a combined 62,973kW in 2019, which
24          would rank 41st overall and would be the 16th largest EPC contractor based on the
            latest Sun Power World ranking list.
25
            Management Commentary
26
            Jeffrey Peck, Chairman of the Board and Chief Executive Officer of Peck, commented,
27          “This is a transformational combination, leveraging the respective strengths of the two
            organizations and creating a national leader in the fast-growing and resilient solar
28
            energy industry. It provides Peck expansion, scale, an enhanced financial profile and a
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            stronger platform from which we can continue to build more solar projects. Our
 1
            integration with Sunworks will extend our presence to the west coast and broaden our
 2          offerings to agriculture and public works. The transaction solidifies our three-pronged
            growth strategy that we announced a year ago when we listed on Nasdaq through a
 3          SPAC merger. Since we have been public, we (1) delivered organic growth of revenue
            from $16 million to $28 million in the first year, (2) partnered with GreenBond
 4          Advisors to access capital that provides EPC revenue as well as asset ownership in the
 5          solar projects we build for the partnership, and now (3) we are delivering on the third
            prong of our strategy with an exciting accretive acquisition. We have been focused on
 6          executing these important initiatives for our shareholders and expect the acquisition of
            Sunworks to provide many more opportunities for long term growth and profitability.”
 7
            Chuck Cargile, Chairman of the Board and Chief Executive Officer of Sunworks,
 8          added, “By joining with Peck, our vision for spreading clean solar energy throughout
            the U.S. is amplified and expanded. Peck has demonstrated the ability to grow revenue
 9
            and maintain profitability, and we believe that the combination of our teams, customers,
10          projects and partners will materially accelerate revenue growth and earnings. Peck’s
            strong partnership with Green Bond Advisors will allow us to offer financing to a
11          broader range of customers and increase our addressable market. Additionally, our
            expanded scale will enable us to source solar panels and equipment through Peck’s
12          established relationships at lower costs, benefiting our profit margins. Being part of
13          Peck’s platform is exciting, and in the best interest of Sunworks shareholders,
            customers, business partners and employees.”
14
            Transaction Details
15
            The transaction is expected to close during the fourth quarter of 2020, subject to
16          approval by shareholders of both companies and other customary closing conditions.

17          The Board of Directors of Peck and Sunworks have each unanimously voted in favor
            of the definitive transaction agreement.
18
            As part of the agreement, after the transaction closes, Jeff Peck will continue as
19          Chairman of the Board and Chief Executive Officer of the combined company. The
            Board of Directors of the combined company will be comprised of four members of
20
            the Peck Board of Directors and three members appointed by the Sunworks Board of
21          Directors. Because the combined company will be in competition with SunPower
            Corporation in some markets, Doug Rose, who is also a Vice President at SunPower
22          Corporation, has resigned from the Board of Directors of Peck to avoid conflicts of
            interests.
23
24   The Materially Misleading Registration Statement

25          48.       Designed to convince stockholders to vote their shares in favor of the Proposed

26   Transaction, the Registration Statement is rendered misleading by the omission of critical information

27   concerning the fairness of the Proposed Transaction, and the process leading up to the signing of the

28   Merger Agreement.

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 1          49.       This material information directly impacts the Company’s expected future value as a
 2   standalone entity, and its omission renders the statements made materially misleading and, if
 3   disclosed, would significantly alter the total mix of information available to Sunworks stockholders.
 4          Material Omissions Concerning the Sales Process leading up to the Proposed Transaction
 5          50.       The Recommendation Statement fails to disclose material information related to the
 6   confidentiality agreements Sunworks signed with numerous parties.
 7          51.       Specifically, the Recommendation Statement states that Sunworks executed
 8   confidentiality agreements with numerous parties including Party B and Party C, but fails to disclose
 9   whether Party F, the entity most likely able to submit a competing bid to the company, was subject to
10   a confidentiality agreement. Furthermore, the Registration Statement also fails to disclose whether
11   such an agreement contained a standstill agreement and/or a “don’t ask, don’t waive” (“DADW”)
12   provision, including whether those provisions had fallen away upon the execution of the Merger
13   Agreement or were still in effect.
14          52.       Any reasonable stockholder would deem the fact that likely bidders in the
15   marketplace may be precluded from making a superior offer to significantly alter the total mix of
16   information. However, the Recommendation Statement fails to disclose the details of the
17   confidentiality agreement executed between Sunworks and Party F. The failure to plainly disclose
18   Party F’s confidentiality agreement and the existence of DADW provisions creates the false
19   impression that any of the parties who signed confidentiality agreements could have made a superior
20   proposal. However, if Party F was subject to a confidentiality agreement that contained DADW
21   provisions, then Party F could only make a superior proposal by breaching the agreement—since in
22   order to make the superior proposal, they would have to ask for a waiver, either directly or indirectly.
23   Thus, the omission of this material information renders the descriptions of the confidentiality
24   agreements the Company entered into in the Background of the Merger section of the
25   Recommendation Statement misleading.
26          Material Omissions Concerning The Financial Projections
27          53.       The Registration Statement describes the financial advisor’s fairness opinion and the
28   various valuation analyses the financial advisor performed in support of its opinion. However, the
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 1   description of the financial advisor’s fairness opinion and the underlying analyses omits key inputs
 2   and assumptions. Without this information, as described below, Sunworks’ public stockholders are
 3   being misled as to what weight, if any, to place on the financial advisor’s fairness opinion in
 4   determining whether to vote in favor of the Proposed Transaction. This omitted information, if
 5   disclosed, would significantly alter the total mix of information available to Sunworks stockholders,
 6   and its absence renders the description of the Financial Advisor’s fairness opinion misleading.
 7          54.       With respect to the Company’s Projections, the Registration Statement fails to
 8   provide material information concerning any of the financial projections either prepared by or
 9   approved by Sunworks management or utilized by HCVT. Specifically, the Registration Statement
10   notes that HCVT utilized projections consisting of certain information relating to the historical, current
11   and future operations, financial condition and prospects of Sunworks and Peck including, “and in the
12   case of Sunworks, internal financial projections (and adjustments thereto) prepared by the
13   management of Sunworks relating to Sunworks for the fiscal years ending 2020 through 2025 and
14   cash flow projections for the 13 weeks through October 18, 2020.” Registration Statement at 134.
15          55.       These projections are vital to Sunworks’ stockholders. In connection with rendering
16   its opinion, HCVT reviewed, among other things, performed a Discounted Cash Flow Analysis on
17   Sunworks with consideration of projected financial results. Specifically, the Registration Statement
18   notes that “[u]sing internal financial projections (and adjustments thereto), prepared by the
19   management of Sunworks and provided to HCVT, for fiscal years ending 2020 through 2025, HCVT
20   performed an illustrative discounted cash flow analysis on Sunworks.” Registration Statement at 141.
21   However, the actual projections utilized in the analysis are not disclosed in the Registration Statement.
22   Furthermore, these missing projections are not the only vital inputs and assumptions missing from
23   HCVT’s fairness opinion. In addition to the missing projections, the Registration Statement fails to
24   disclose in the Discounted Cash Flow Analysis: (i) the inputs and assumptions underlying the selection
25   of discount rates ranging from 11.0% to 13.0%; and (ii) the inputs and assumptions underlying the
26   selection of exit multiple ranging from 4.0x to 5.0x.
27          56.       Additionally, HCVT performed a Selected Precedent M&A Transactions Analysis,
28   wherein it “observed overall low to high transaction value to revenue multiples and transaction value
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 1   to EBITDA multiples of the selected precedent M&A transactions of 0.06x to 1.13x (with a mean of
 2   0.59x and median of 0.63x), and 4.3x to 19.7x (with a mean of 12.3x and a median of 9.8x).”
 3   Registration Statement at 140. “Based on the selected precedent M&A transactions analysis performed
 4   by HCVT described above,” HCTV then “derived a range of multiples of 0.15x to 0.20x based on the
 5   transaction value to revenue multiples based on the last 12 months ended June 30, 2020,” which
 6   resulted in “an implied per share reference range from its selected precedent M&A transactions
 7   analysis of $0.60 to $0.76 per share.” Id. Plainly, the reference range selected by HCTV was well
 8   below the mean and median ranged implied by the analyses. Nonetheless, the Registration Statement
 9   fails to disclose any basis whatsoever for applying these reduced reference range.
10          57.       Finally, the Registration Statement provides that “Sunworks has paid another division
11   of HCVT a flat fee for performing a quality of earnings analysis on Peck” and that “Peck’s
12   management prepared and provided to the Peck [b]oard, members of Sunworks management and the
13   Sunworks Board, estimates of cost and revenue synergies and other pro forma effects, including the
14   costs to achieve such synergies and other pro forma effects[.]” Registration Statement at 142. Although
15   the Merger Consideration is comprised entirely of Peck common stock, the Registration Statement
16   fails to disclose this information to Sunworks’ shareholders.
17          58.       Without such undisclosed information, Sunworks’ stockholders cannot evaluate for
18   themselves whether the financial analyses performed by the financial advisor was based on reliable
19   inputs and assumptions or whether they were prepared with an eye toward ensuring that a positive
20   fairness opinion could be rendered in connection with the Proposed Transaction. In other words, full
21   disclosure of the omissions identified above is required in order to ensure that stockholders can
22   evaluate the extent to which financial advisor’s opinion and analyses should factor into their decision
23   whether to vote in favor of or against the Proposed Transaction.
24          59.       The omission of this information renders the statements in the “Opinion of Sunworks’
25   Financial Advisor” of the Registration Statement false and/or materially misleading in contravention
26   of the Exchange Act.
27          Material Omissions Concerning Potential Conflicts of Interest involving HCVT
28          60.       Furthermore, the Registration Statement fails to disclose material information related
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 1   to potential conflicts of interest faced by the Company’s financial advisor.
 2          61.       Specifically, in describing financial advisory or other services to Peck for which it
 3   received compensation, the Registration Statement notes that that HCVT has not previously, and does
 4   not currently, have any relationship with Peck.
 5          62.       However, with regard to the past work that HCVT has performed over the past two
 6   years with regard to Sunworks, the Registration Statement fails to disclose the fees that HCVT has
 7   received for this work, nor the precise nature of the work that it has performed. Without this
 8   information, there is a concern that the prior relationship between HCVT and the Company may have
 9   enabled these the Company to push HCVT to support a sale of the Company and influence the financial
10   analyses provided to the Board.
11          63.       Accordingly, without full disclosure of the exact nature of the work done by HCVT
12   for the Company in the last two years, and the fees received for such work, Sunworks stockholders
13   may be materially mislead as to HCVT’s potential conflicts of interest.
14          Material Omissions Concerning Potential Conflicts of Interest involving the Board
15          64.       Finally, the Registration Statement fails to disclose material information related to
16   potential conflicts of interest faced by the Company’s Board Members.
17          65.       The Registration Statement notes that the board of directors of the post-merger
18   company will be comprised of three directors designated by the current Sunworks Board. However,
19   the Registration Statement fails to disclose any information regarding the timing of the negotiations
20   that led to this unique benefit for Defendants. Notably, however, the Registration Statement does
21   disclose that, on August 4, 2020, when the substantive Exchange Ratio negotiations were still ongoing,
22   the parties met and discussed “Peck management’s vision and future plans for the combined
23   companies.” Registration Statement at 124. Stockholders are entitled to know if board composition
24   was discussed while substantive negotiations regarding Merger Consideration were being discussed.
25          66.       This is particularly important information for stockholders to have because,
26   Defendant Cargile and another member of Sunworks’ management are also receiving a benefit not
27   shared by Sunworks’ common stockholders in the form of the repayment of a $750,000 subordinated
28   note, which was partially funded by Defendant Cargile in the amount of $500,000, and which will be
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 1   repaid in full in connection with the closing of the Merger. Yet, the Registration Statement omits any
 2   information regarding the timing and/or substance of these conversations and negotiations. The
 3   materiality of this information is further supported by the fact that Defendant Cargile essentially
 4   controlled the negotiations of the Merger Agreement, and it is not clear from the Registration
 5   Statement whether Defendant Cargile was informing the full Board of all of his discussions with Peck
 6   and/or its affiliates and other potential counterparties.
 7          67.       For example, the Registration Statement notes that “[i]n January 2020, a private
 8   company (“Party C”) contacted the Sunworks CEO regarding a potential acquisition of the assets of
 9   Sunworks by Party C” and that on January 8, 2020, Defendant Cargile provided an update on
10   discussions with Party B – but not Party C – and the Board thereafter directed Defendant Cargile to
11   continue discussions with Party B. Registration Statement at 118-19. The Registration Statement
12   further provides that the Board also met on January 24, 2020 and there is no mention of Party C. The
13   Registration Statement states that Sunworks and Party C entered a confidentiality agreement on
14   January 31, 2020, and continued discussions until February 13, 2020, yet there is no indication that
15   the full Board was ever made aware, nor authorized, these communications.
16          68.       Given the lack of clarity regarding the actions made by certain board members and
17   the benefits that they stand to receive in the Proposed Transaction, Sunworks stockholders may be
18   materially mislead as to the Board’s potential conflicts of interest.
19          69.       Based on the foregoing disclosure deficiencies in the Registration Statement, Plaintiff
20   seeks injunctive and other equitable relief to prevent the irreparable injury that Sunworks stockholders
21   will suffer, absent judicial intervention, if Sunworks’ stockholders are required to decide how to vote
22   their shares without the above-referenced material misstatements and omissions being remedied.
23          70.       As a result of the above-referenced misleading statements and omissions in the
24   Registration Statement, Defendants violated Sections 14(a) and 20(a) of the Exchange Act.
25          71.       Based on the foregoing disclosure deficiencies in the Recommendation Statement,
26   Plaintiff seeks injunctive and other equitable relief to prevent the irreparable injury that Sunworks
27   stockholders will suffer, absent judicial intervention, if Sunworks stockholders are required to decide
28   whether to tender their shares without the above-referenced material misstatements and omissions
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 1   being remedied. Accordingly, Plaintiff seeks injunctive and other equitable relief to prevent the
 2   irreparable injury that Company stockholders will continue to suffer absent judicial intervention.
 3                                         CLAIMS FOR RELIEF
 4                                                 COUNT I
 5     Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9
                                       Promulgated Thereunder
 6
 7             72.    Plaintiff incorporates each and every allegation set forth above as if fully set forth
 8   herein.
 9             73.    Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use
10   of the mails or by any means or instrumentality of interstate commerce or of any facility of a national
11   securities exchange or otherwise, in contravention of such rules and regulations as the Commission
12   may prescribe as necessary or appropriate in the public interest or for the protection of investors, to
13   solicit or to permit the use of his name to solicit any Proxy Statement or consent or authorization in
14   respect of any security (other than an exempted security) registered pursuant to section 78l of this
15   title.” 15 U.S.C. § 78n(a)(1).
16             74.    Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange Act,
17   provides that Registration Statement communications with stockholders shall not contain “any
18   statement which, at the time and in the light of the circumstances under which it is made, is false or
19   misleading with respect to any material fact, or which omits to state any material fact necessary in
20   order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.
21             75.    The omission of information from a Registration Statement will violate Section 14(a)
22   and Rule 14a-9 if other SEC regulations specifically require disclosure of the omitted information.
23             76.    Here, Defendants have issued the Registration Statement with the intention of
24   soliciting stockholder support for the Proposed Transaction. Each of the Defendants reviewed and
25   authorized the dissemination of the Registration Statement, which fails to provide critical information
26   regarding, among other things: (i) the Company’s financial projections; and (ii) the valuation analyses
27   of the financial advisor.
28             77.    In so doing, Defendants made untrue statements of fact and/or omitted material facts
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 1   necessary to make the statements made not misleading. Each of the Individual Defendants, by virtue
 2   of their roles as officers and/or directors, were aware of the omitted information but failed to disclose
 3   such information, in violation of Section 14(a). The Individual Defendants were therefore negligent
 4   as they had reasonable grounds to believe material facts existed that were misstated or omitted from
 5   the Registration Statement, but nonetheless failed to obtain and disclose such information to Sunworks
 6   common stockholders although they could have done so without extraordinary effort.
 7          78.       The Individual Defendants knew or were negligent in not knowing that the
 8   Registration Statement is materially misleading and omits material facts that are necessary to render
 9   it not misleading. The Individual Defendants undoubtedly reviewed and relied upon most if not all of
10   the omitted information identified above in connection with their decision to approve and recommend
11   the Proposed Transaction; indeed, the Registration Statement notes that the financial advisors
12   reviewed and discussed their financial analyses with the Board, and further states that the Board
13   considered the financial analyses provided by the financial advisors, as well as their respective fairness
14   opinions and the assumptions made and matters considered in connection therewith.
15          79.       Further, the Individual Defendants were privy to and had knowledge of the
16   projections for the Company, and the details surrounding the process leading up to the signing of the
17   Merger Agreement. The Individual Defendants knew or were negligent in not knowing that the
18   material information identified above has been omitted from the Registration Statement, rendering the
19   sections of the Registration Statement identified above to be materially incomplete and misleading.
20   Indeed, the Individual Defendants were required to, separately, review the financial advisors’ analyses
21   in connection with their receipt of the fairness opinion, question the advisors as to the derivation of
22   fairness, and be particularly attentive to the procedures followed in preparing the Registration
23   Statement, and review it carefully before it was disseminated, to corroborate that there are no material
24   misstatements or omissions.
25          80.       The Individual Defendants were, at the very least, negligent in preparing and
26   reviewing the Registration Statement. The preparation of a Registration Statement by corporate
27   insiders containing materially false or misleading statements or omitting a material fact constitutes
28   negligence. The Individual Defendants were negligent in choosing to omit material information from
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 1   the Registration Statement or failing to notice the material omissions in the Registration Statement
 2   upon reviewing it, which they were required to do carefully as the Company’s directors. Indeed, the
 3   Individual Defendants were intricately involved in the process leading up to the signing of the Merger
 4   Agreement and the preparation of the Company’s financial projections.
 5             81.     Sunworks is also deemed negligent as a result of the Individual Defendants’
 6   negligence in preparing and reviewing the Registration Statement.
 7             82.     The misrepresentations and omissions in the Registration Statement are material to
 8   Plaintiff and Sunworks stockholders, who will be deprived of their right to cast an informed vote if
 9   such misrepresentations and omissions are not corrected prior to the vote on the Proposed Transaction.
10   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s equitable powers
11   can Plaintiff be fully protected from the immediate and irreparable injury that Defendants’ actions
12   threaten to inflict.
                                                    COUNT II
13
14                                 Against the Individual Defendants for
                               Violations of Section 20(a) of the Exchange Act
15
16             83.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

17   herein.

18             84.     The Individual Defendants acted as controlling persons of Sunworks within the

19   meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers

20   and/or directors of Sunworks and participation in and/or awareness of the Company’s operations

21   and/or intimate knowledge of the false statements contained in the Registration Statement, they had

22   the power to influence and control and did influence and control, directly or indirectly, the decision

23   making of the Company, including the content and dissemination of the various statements that

24   Plaintiff contends are false and misleading.

25             85.     Each of the Individual Defendants was provided with, or had unlimited access to,

26   copies of the Registration Statement alleged by Plaintiff to be misleading prior to and/or shortly after

27   these statements were issued and had the ability to prevent the issuance of the statements or cause

28   them to be corrected.

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 1          86.       In particular, each of the Individual Defendants had direct and supervisory
 2   involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had the
 3   power to control and influence the particular transactions giving rise to the violations as alleged herein,
 4   and exercised the same. The omitted information identified above was reviewed by the Board prior
 5   to voting on the Proposed Transaction.          The Registration Statement contains the unanimous
 6   recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the
 7   Individual Defendants were directly involved in the creation of the Registration Statement.
 8          87.       The Registration Statement purports to describe the various issues and information
 9   that the Individual Defendants reviewed and considered. The Individual Defendants participated in
10   drafting and/or gave their input on the content of those descriptions.
11          88.       By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the
12   Exchange Act.
13          89.       As set forth above, the Individual Defendants had the ability to exercise control over,
14   and did control, a person or persons who have each violated Section 14(a) and Rule 14a-9, by their
15   acts and omissions as alleged herein. By virtue of their positions as controlling persons, these
16   defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and proximate result of
17   the Individual Defendants’ conduct, Plaintiff is threatened with irreparable harm.
18                                          PRAYER FOR RELIEF
19          WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, as
20    follows:
21        a) declaring that the Registration Statement is materially misleading and contains
22            omissions of material fact in violation of Section 14(a) of the Exchange Act and Rule
23            14a-9 promulgated thereunder;
24        b) preliminarily and permanently, enjoining Defendants and their counsel, agents,
25            employees and all persons acting under, in concert with, or for them, from proceeding
26            with, consummating, or closing the Proposed Transaction, unless and until Defendants
27            disclose the material information identified above which has been omitted from the
28            Registration Statement;
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 1        c) to the extent the Proposed Transaction is consummated prior to the Court’s entry of a
 2           final judgment, awarding Plaintiff rescissory damages against the Individual Defendants,
 3           including, but not limited to, pre-judgment and post-judgment interest;
 4        d) awarding Plaintiff the costs of this action, including a reasonable allowance for the fees
 5           and expenses of Plaintiff’s attorneys and experts; and
 6        e) granting Plaintiff such further relief as the Court deems just and proper.
 7                                           JURY DEMAND
 8
             Plaintiff demands a trial by jury.
 9
     Dated: October 23, 2020                             LEVI & KORSINSKY, LLP
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